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 4

 5   Attorney for Defendant
     MANUEL HERRERA
 6
                        IN THE UNITED STATES DISTRICT COURT
 7

 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,              ) No. CR-S-11-CR-296 WBS
                                            )
                                            )
11                     Plaintiff,           ) STIPULATION AND PROPOSED
                                                                ----------------
                                            ) ORDER TO ALLOW MANUEL
12                                          ) HERRERA TO TRAVEL TO MEXICO TO
     vs.
                                            ) VISIT HIS AILING MOTHER
13                                          )
     MANUEL HERRERA,                        )
14                                          )
                                            )
15                     Defendant.           )
                                            )
16                                          )

17         IT IS HEREBY STIPULATED AND AGREED between defendant Manuel
18   Herrera, by and through his undersigned defense counsel, and the United
19   States of America, by and through its counsel, Assistant U.S. Attorney Brian
20   A. Fogerty, Mr. Herrera may, with the permission of his Pretrial Services
21   Officer, and pursuant to such conditions as required by his Pretrial Services
22   Officer, travel to Mexico at any time between May 20, 2016 and June 3, 2016
23   for the purpose of visiting his sick mother. (Ms. Herrera is having knee
24   surgery May 23, 2016.) It is further stipulated Mr. Herrera must check-in
25   with his Pretrial Services Officer as required by his Pretrial Services Officer.
26   Pretrial Services shall return Mr. Herrera's passport to him no later than May
27   18, 2016. Mr. Herrera must return to the United States by June 3, 2016 and
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 1
     must check in with, and surrender his passport to, his Pretrial Services
 2
     Officer as soon as possible, but in any event, no later than 5:00 pm on June
 3
     6, 2016. (June 3, 2016, is a Friday. Mr. Herrera will be returning from
 4
     Mexico after close of business Friday evening.)
 5

 6
     IT IS SO STIPULATED.
 7
     Dated: April 29, 2016                     /s/ John R. Manning
 8
                                               JOHN R. MANNING
 9                                             Attorney for Defendant
                                               Manuel Herrera
10

11   Dated: April 29, 2016                     /s/ Brian A. Fogerty
                                               BRIAN A. FOGERTY
12                                             Assistant United States Attorney

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14
     IT IS SO ORDERED,
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16   Dated: May 2, 2016
17
                                         UNITED STATES MAGISTRATE JUDGE
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